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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF INDIANA
                          HAMMOND DIVISION

 UNITED STATES OF AMERICA,                 )
                                           )
 Plaintiff,                                )
                                           )
             v.                            )     No.    2:08-CR-88
                                           )
 KENNETH W. HARRIS,                        )
                                           )
 Defendant.                                )

                                   ORDER

       This matter is before the Court on the Findings and

 Recommendation of the Magistrate Judge Upon a Plea of Guilty

 (DE # 163) filed on October 22, 2008. No objections have been

 filed     to     Magistrate     Judge        Rodovich’s     findings        and

 recommendations upon a plea of guilty. Accordingly, the Court

 now     ADOPTS   those   findings      and    recommendations,          ACCEPTS

 Defendant Kenneth W. Harris’s plea of guilty, and FINDS the

 Defendant guilty of Count 1 of the Indictment, in violation of

 Title 21 U.S.C. § 846.

       This matter is set for sentencing on April 30, 2009, at

 1:30 p.m.

 DATED:     November 18, 2008              /s/RUDY LOZANO, Judge
                                           United States District Court
